                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                                  )
                                                           )
                                            Plaintiff,     )
                                                           )
v.                                                         )       No. 05-0169-01-CR-W-DW
                                                           )
JARVIS T. WILLIAMS                                         )
                                                           )
                                            Defendant.     )

                                            ORDER

       Before the Court is Magistrate Judge John T. Maughmer’s Report and Recommendations

(Doc. 50) denying Defendant’s Motion to Suppress (Doc. 35). Defendant filed objections to the

Report and Recommendation (Doc. 55). After an independent review of the transcript of the

evidentiary hearing, the applicable law, and the parties’ arguments, the Court ADOPTS the

Magistrate’s proposed findings of fact and conclusions of law. Accordingly, the Court orders that

the Magistrate’s Report and Recommendation be attached to and made a part of this Order and

DENIES Defendant’s Motion to Suppress (Doc. 35).

       IT IS SO ORDERED.



Date: February 24, 2006                     ________________/s/ Dean Whipple_____
                                                               Dean Whipple
                                                        United States District Court
